    Case:4:16-cv-03282-DMR
    Case  18-16700, 10/03/2022, ID: 12554619,
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              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                October 3, 2022


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: Reynaldo Gonzalez, et al.
          v. Google LLC
          No. 21-1333
          (Your No. 18-16700)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is granted.



                                        Sincerely,




                                        Scott S. Harris, Clerk
